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August 25, 2021


                                                                Hirsch v. Beda Et Al- cv-12246

Dear Honorable Chief Justice Freda L. Wolfson:

        Thank you for the order issued August 23, 2021 and allowing me leave to amend the
complaint under cv-13718. The undersigned has recently become aware that New Jersey has a
State civil conspiracy tort and would like to amend the complaint before the Honorable Court
reviews the proposed amended complaint. I have already submitted, hastily, proposed amended
complaints under cv-13718, and it will look unprofessional on my part to hastily submit a third
proposed amended complaint. I called the Court asking for when the deadline was to submit the
proposed amended complaint and they said to write a letter. I did not receive a time frame as to
when the proposed amended complaint should be submitted and therefore hastily filed one. If the
Honorable Court can give me 30 days to submit a proposed amended complaint under cv-12246
pursuant to its prior order allowing me to add additional Defendants it would be immensely
appreciated. I extend to the Court and its staff my best wishes during the ongoing health crisis.


                                                                                    Respectfully,

                                                                                 Elliot M. Hirsch
